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                       IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

 O. DOE; BRAZILIAN WORKER CENTER, INC.;
 LA COLABORATIVA,

                               Plaintiffs,

                       v.
                                                                Civil Action No. 25-CV-
 DONALD J. TRUMP, in his official capacity as                   10135
 President of the United States; U.S. DEPARTMENT
 OF STATE; U.S. SOCIAL SECURITY
 ADMINISTRATION; MARCO RUBIO, in his
 official capacity as Secretary of State; MICHELLE
 KING, in her official capacity as Acting
 Commissioner of U.S. Social Security
 Administration,

                                 Defendants.



                         DECLARATION OF LEON RODRIGUEZ

I, Leon Rodriguez, declare and state as follows:

   1. Throughout my career, I have gained personal knowledge of how birthright citizenship is

       critical to many different facets of American life. The experience from which I draw for

       this declaration includes my work as a federal prosecutor; my service as the County

       Attorney for Montgomery County, Maryland; and my experience as the Director of the

       United States Citizenship and Immigration Services.

   Background

   2. I am an attorney licensed to practice law in the District of Columbia, Maryland, and New

       York. I began my career as a prosecutor, first in Brooklyn, New York (1988-1994); then
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      at the U.S. Department of Justice in Washington, D.C. (1994-1997); and then as an

      Assistant U.S. Attorney in Pennsylvania (1997-2001). One of my main focus areas in my

      work as a prosecutor was healthcare. I later worked as the Chief of Staff, Deputy

      Assistant Attorney in the Civil Rights Division of the Department of Justice (January

      2010-September 2011) and as the Director of the U.S. Department of Health and Human

      Services, Office for Civil Rights (2011-2014).

   3. From 2014 to 2017, I served as the Director of the United States Citizenship and

      Immigration Services (USCIS).

   4. I am currently a partner at Seyfarth Shaw LLP, where I am a founding member of the

      firm’sImmigrationandCompliancespecialtyteam.

Eliminating Birthright Citizenship On February 19, 2025 Would Result In Chaos

   5. I am aware that on January, 20, 2025, President Trump issued an Executive Order

      entitled “ProtectingtheMeaningandValueofAmericanCitizenship”(EO).Amongoth

      things, the EO states that it shall be the policy of the United States that no federal agency

      shall issue documents recognizing U.S. citizenship to certain categories of people who

      heretofore have been recognized as citizens by virtue of their birth in the United States.

      This includes apersonbornintheUnitedStateswhosemother
                                                       lypresent”
                                                            is“unlawful
                                                                  or

      whosepresenceis“lawfulbuttemporary”andwhosefatherisnotacitizeno

      permanent resident.

   6. The EO states that it shall apply to people born within the United States after 30 days

      from the date of the order (February 19, 2025).

   7. If the EO were allowed to go into effect on that date, it would immediately cause

      significant disruption and chaos throughout many different facets of American life. That
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   is because we as a nation have built up numerous different systems that are designed on

   the foundational premise that a birth certificate reflecting birth within the United States

   constitutes proof of U.S. citizenship. Birthright citizenship underpins our daily life in

   ways that most people scarcely think about, because it has been taken as a given for

   generations. Removing that fundamental premise on February 19, 2025 would wreak

   havoc in many different ways.

8. Starting at the most basic level, there is currently no other immigration status for the

   babies whose citizenship would no longer be recognized under the EO. Babies who are

   born after February 19, 2025 and fall into the categories listed in the EO would therefore

   have no immigration status at all. We simply do not have any legal structures in place in

   the United States to recognize such babies as anything other than U.S. citizens.

9. The resulting disruption would be immediate and severe. All of the babies who fall into

   the categories listed in the EO— a number that would grow daily— would become

   instantly deportable by virtue of having no recognized immigration status in the United

   States. Many would be rendered stateless, because they would also have no ties to any

   other country.

10. Moreover,parentswouldhavenowayofadjustingsuchachild’s
                                                       . immigration

   Because our entire immigration system has developed over the last century (and more) on

   the foundational premise that such children are U.S. citizens, there is no mechanism for

   adjustment of their status. This would cause immense problems, not just for children but

   for parents put in a position of trying to navigate their family through this void.

11. Although the chaos and disruption would fall most heavily on the families of children

   specifically listed in the EO, it would extend across all of American society. For example,

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       there is currently a relatively seamless cooperation between hospitals (where births are

       recorded) and federal agencies that recognize immigration status. Through the

       Enumeration At Birth (EAB) program, parents who have just had a baby can sign a

       simple form while still in the hospital, authorizing the hospital to report that information

       to the Social Security Administration (SSA) for issuance of a Social Security number and

       card.1 SSA reports that approximately 99% of all new parents do this.

    12. The EO would change all that— not just for undocumented individuals but for everyone.

       Even in the case of a baby born to two U.S. citizen parents, a birth certificate reflecting a

       birthwithintheUnitedStateswouldnolongerestablishthebaby’scit

       parents would have to prove their own status first. Even if it were deemed acceptable for

       citizen-parents to do so by producing their own birth certificates (which would appear

       illogical, if that does not serve as proof for individuals born after February 19, 2025), that

       would be an extraordinarily cumbersome process compared to what exists today.

    13. Moreover, it is not clear to whom they would produce those documents: to the hospitals

       wheretheirchild’sbirth  occurred
                           (which have no training or ability to manage such a

       process)? To the local jurisdiction where their child was born? To the one where they

       reside? The state? To a federal agency? There does not currently exist in the United

       States a centralized database of U.S. citizens. Even if one could be created, and a process

       for determining who goes into it, that most certainly could not be accomplished within 30

       days. Thousands of people would be required to hire immigration attorneys to help with

       this process, at immense burden and cost.


1
 See Bureau of Vital Statistics, State Processing Guidelines for Enumeration at Birth (Social Security
Administration Nov. 2024), available at
https://www.ssa.gov/dataexchange/documents/Updated%20State%20Processing%20Guidelines%20for%20EAB.pdf

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14. That is just one example of the chaos and disruption that would occur if the EO were

   allowed to go into effect on February 19, 2025. Many other facets of American life are

   similarly built upon the foundational premise that a birth certificate reflecting birth in the

   United States serves as proof of U.S. citizenship. Passports, employment authorization,

   drivers licenses, public benefit programs: the processes for accessing all of these benefits

   and entitlements have been designed and operated over the last century based on the

   premise that a birth certificate reflecting birth in the United States is proof of citizenship.

   If that premise is removed, then those systems will become instantly unmanageable and

   unworkable. And there is nothing in place to replace them. This harms not just the

   children directly affected, but whole families: if a child loses access to healthcare

   benefits, for example, parents will be put in the position of trying to secure alternative

   care— or managing the problematic health outcomes that result for their child if

   alternative care cannot be secured.

15. In the United States, birthright citizenship has been in place for generations and has been

   relied upon by federal, state, and local agencies in creating systems that underpin many

   facets of our daily lives. Whether or not such entrenched systems could ever be replaced

   by ones that do not rely on birthright citizenship, this most certainly cannot be done by

   February 19, 2025. Allowing the EO to go into effect on that date would therefore cause

   significant disruption and harm in numerous different ways.

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge. Executed this 23rd day of January 2025 in Washington, D.C.

                                                   /s/ Leon Rodriguez


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